           Case 18-18758         Doc 43 Filed 09/13/23 Entered 09/13/23 10:51:39                    Desc NTC
                                   Domestic Support Obligatio Page 1 of 1
Form defdso13

                                      UNITED STATES BANKRUPTCY COURT
                                            Northern District of Illinois
                                                 Eastern Division
                                                 219 S Dearborn
                                                    7th Floor
                                                Chicago, IL 60604



In Re:
                                                               Case No. 18−18758
                                                               :
Kimberly Moody                                                 Chapter : 13
1624 North Meade                                               Judge :   Timothy A. Barnes
Chicago, IL 60639
SSN: xxx−xx−4574 EIN: N.A.




                         NOTICE TO INDIVIDUAL DEBTORS IN CHAPTER 12/13 CASES
                               OF REQUIRED DOCUMENT FOR DISCHARGE


         In order to receive a Discharge, you must file the following document.

            Debtor's Declaration Domestic Support Obligations.

       Please complete the local form titled Debtor's Declaration Regarding Domestic Support Obligations. If a joint
petition was filed, each spouse must complete and file a separate declaration.

       The local form, Debtor's Declaration Regarding Domestic Support Obligations, is available on our website at
https://www.ilnb.uscourts.gov/forms/all−forms/chapter_13_forms

       If you do not file the required document, your case will be closed without a discharge. You will still be liable
for the current balance of the debts you owed before filing. If you subsequently file a Motion to Reopen, you must
pay the reopening fee.

         If you are represented by an attorney, please contact your attorney for guidance.

         If you have any questions about submitting the form, please call 312−408−5000.

                                                              FOR THE COURT



Dated: September 13, 2023                                     Jeffrey P. Allsteadt, Clerk
                                                              United States Bankruptcy Court
